        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 1 of 13                       FILED
                                                                                   2013 May-21 AM 10:03
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION
                   COURT FILE NO.: _____________________


Brian Spellen,

             Plaintiff,
v.                                                         COMPLAINT

OneMain Financial, Inc.,

                 Defendant.                        JURY TRIAL DEMANDED


                                  JURISDICTION

1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15

      U.S.C. § 1692k(d), and pursuant to 28 U.S.C. § 1367 for pendent state law

      claims and the TCPA claims, which are predicated upon the same facts and

      circumstances that give rise to the federal causes of action. Injunctive relief is

      available pursuant to the TCPA.

2.    This action arises out of Defendant’s repeated violations of the Fair Debt

      Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the

      Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq. and

      out of the invasions of Plaintiff’s personal privacy by Defendant and their

      agents in their illegal efforts to collect a consumer debt.




                                           -1-
       Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 2 of 13



3.   Venue is proper in this District because the acts and transactions occurred here

     in Birmingham, Jefferson County, Alabama, as well as the fact that the

     Plaintiff resides here, and Defendant transacts business here.

                                     PARTIES

4.   Plaintiff Brian Spellen (hereinafter “Plaintiff”) is a natural person who resides

     in the City of Fultondale, County of Jefferson, State of Alabama, and is a

     “consumer” as that term is defined by 15 U.S.C. § 1692a(3) or a person

     affected by a violation of that law.

5.   Defendant OneMain Financial, Inc. (hereinafter “Defendant OneMain

     Financial” or “OneMain”) is a foreign financial and debt collection firm that

     engages in the business of debt collection. It conducts business within the

     State of Alabama. Its principal place of business is in the State of Maryland,

     and it is incorporated in Delaware, and is a “debt collector” as that term is

     defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

6.   Another individual who previously owned the cellular phone number

     belonging to Brian Spellen allegedly incurred a financial obligation that was

     primarily for personal, family or household purposes and is therefore a

     “debt” as that term is defined by 15 U.S.C. § 1692a(5).




                                            -2-
        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 3 of 13



7.    Defendant OneMain then either assigned the debt to another collector and/or

      pursued same through an internal debt collection branch of the company.

8.    After receiving the assignment, Defendant OneMain began harassing

      collection activities against Plaintiff.

9.    For a period of several months, Defendant OneMain and/or the collectors

      employed by Defendant OneMain repeatedly and willfully made a large

      number of harassing calls, and contacted Plaintiff on his cellular telephone

      in an effort to collect this debt, which were “communication[s]” in an

      attempt to collect a debt as that term is defined by 15 U.S.C. § 1692a(2).

10.   Defendant OneMain refused on one or more occasions to give the mini-

      miranda and other disclosures as required when leaving voicemails in its

      efforts to collecting the debt.

11.   Plaintiff on more than one occasion informed Defendant OneMain that they

      were contacting the wrong number.

12.   Defendant OneMain illegally used an autodialer, predictive dialer, and/or

      pre-recorded calls to Plaintiff’s cell phone without permission to do so in

      violation of the Telephone Consumer Protection Act (TCPA).

13.   Plaintiff never gave Defendant permission to call Plaintiff’s cell phone, to

      call with an autodialer, predictive dialer, or to use pre-recorded calls.




                                           -3-
        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 4 of 13



14.   Defendant OneMain is liable for these calls under the TCPA, even in the

      event that these calls were made by its debt collector, as they were collecting

      this account on behalf of Defendant OneMain.

15.   The harassing and repeated phone calls have been made within the

      applicable statute of limitations period.

                       Telephone Consumer Protection Act

16.   At all times relevant to this complaint, the Plaintiff was and is a “person” as

      defined by the TCPA 47 U.S.C. § 153(32).

17.   At all times relevant to this complaint, the Defendants, separately or

      collectively, owned, operated, and or controlled “customer premises

      equipment” as defined by the TCPA 47 U.S.C. § 153(14) that originated,

      routed, and/or terminated telecommunications.

18.   The Defendants at all times relevant to the complaint herein engages in

      “telecommunications” defined by the TCPA 47 U.S.C. § 153(43).

19.   The Defendants at all times relevant to the complaint herein engages in

      “interstate communications” by the TCPA 47 U.S.C. § 153(22).

20.   At all times relevant to this complaint, the Defendants used, controlled, and/or

      operated “wire communications” as defined by the TCPA 47 U.S.C. §

      153(52), that existed as instrumentalities of interstate and intrastate commerce.




                                          -4-
        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 5 of 13



21.   At all times relevant to this complaint, the Defendants used, controlled, and/or

       operated “automatic telephone dialing systems” as defined by the TCPA 47

                      U.S.C. § 227(a)(1) and 47 C.F.R. 64.1200(f)(1).

                        Illegal Auto-Dialed Collection Calls

22.   Defendants telephoned the Plaintiff’s cellular phone on numerous occasions

      and left pre-recorded messages on the Plaintiff’s answering service and in

      violation of the TCPA.

23.   Defendant OneMain and its collectors repeatedly called Plaintiff on his cell

      phone using an automatic telephone dialing system and left voice mails on

      the cell phone in an attempt to collect this debt.

24.   On many of these messages, Plaintiff heard a message from Defendant

      OneMain telling him to return the call and leaving a reference toll free

      number.

25.   Plaintiff received an excessive amount of these auto-dialed calls from

      Defendant OneMain.

26.   These messages, sent in willful violation of the TCPA, from Defendant

      OneMain to Plaintiff also failed to provide Plaintiff with the notices required

      by 15 U.S.C. § 1692e(11).

27.   These repeated autodialed collection calls were illegal third-party attempts to

      collect this debt in violation of numerous and multiple provisions of the



                                          -5-
          Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 6 of 13



        FDCPA, including but not limited to 15 U.S.C. §§ 1692b(1), 1692b(3),

        1692c(a)(1), 1692d, 1692d(5), 1692d(6), 1692e, 1692e(1), 1692e(2), 1692e(4),

        1692e(5), 1692e(7), 1692e(9), 1692e(10), 1692e(11), 1692e(14), and 1692f,

        amongst others, as well as violations of the TCPA.

                                       Summary

28.     All of the above-described collection communications made to Plaintiff by

        Defendant OneMain and other collection employees employed by Defendant

        OneMain, were made in violation of numerous and multiple provisions of the

        FDCPA, including but not limited to all of the above mentioned provisions,

        amongst others, as well as an invasion of her privacy by the use of repeated

        calls.

                                  TRIAL BY JURY

29.     Plaintiff is entitled to and hereby respectfully demands a trial by jury on all

        issues so triable. U.S. Const. amend. 7. Fed.R.Civ.P. 38.

                               CAUSES OF ACTION

                                      COUNT I.

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                               15 U.S.C. § 1692 et seq.

30.     Plaintiff incorporates by reference all of the above paragraphs of this

        Complaint as though fully stated herein.



                                          -6-
        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 7 of 13



31.   The foregoing acts and omissions of Defendant OneMain and its agents

      constitute numerous and multiple violations of the FDCPA including, but

      not limited to, each and every one of the above-cited provisions of the

      FDCPA, 15 U.S.C. § 1692 et seq., with respect to Plaintiff.

32.   As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to

      actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an

      amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

      reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3),

      from Defendants herein.

                          COUNT II.
 VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                  47 U.S.C. Section 227 et seq.

33.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

34.   Defendants made numerous calls to the Plaintiff’s cellular telephone service

      using an automatic telephone dialing system in violation of the TCPA, 47

      U.S.C. Section 227(b)(1)(A)(iii), and 47 C.F.R. 64.1200 (a)(1)(iii).

35.   The acts and or omissions of Defendant OneMain at all times material and

      relevant hereto, as described in this complaint, were done unfairly,

      unlawfully, intentionally, deceptively and absent bona fide error, lawful

      right, legal defense, legal justification or legal excuse.



                                          -7-
        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 8 of 13



36.   As a causally-direct and legally proximate result of the above violations of

      the TCPA and the C.F.R., Defendant at all times material and relevant

      hereto, as described in this Complaint, caused Plaintiff to sustain damages.

37.   Defendant did not have the prior express consent from Plaintiff to use an

      automatic telephone dialing system to call the Plaintiff’s cellular telephone.

38.   Defendant OneMain made such calls willfully, and in direct contradiction to

      the law as well as Plaintiff’s request to cease calls on this cellular phone.

39.   Under the 47 U.S.C. Section 227(b)(3)(B), the Plaintiff is entitled to

      statutory damages under the TCPA of $500.00 per phone call made to

      Plaintiff.

40.   Defendant OneMain willfully and knowingly violated the TCPA, and as

      such the Plaintiff is entitled to $1,500.00 per phone call made to the Plaintiff

      pursuant to the 47 U.S.C. Section 227(b)(3).

41.   Plaintiff is entitled to injunctive relief prohibiting Defendant OneMain from

      contacting the Plaintiff on his cellular phone using an automated dialing

      system pursuant to the 47 U.S.C. Section 227(b)(3)(a).




                                          -8-
        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 9 of 13



                         COUNT III.
      INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

42.   Plaintiff incorporates by reference all of the paragraphs of this Complaint as

      though fully stated herein.

43.   Congress explicitly recognized a consumer’s inherent right to privacy in

      collection matters in passing the Fair Debt Collection Practices Act, when it

      stated as part of its findings:

             Abusive debt collection practices contribute to the number of

             personal bankruptcies, to marital instability, to the loss of jobs,

             and to invasions of individual privacy.

      15 U.S.C. § 1692(a) (emphasis added).

44.   Congress further recognized a consumer’s right to privacy in financial data

      in passing the Gramm Leech Bliley Act, which regulates the privacy of

      consumer financial data for a broad range of “financial institutions”

      including debt collectors albeit without a private right of action, when it

      stated as part of its purposes:

             It is the policy of the Congress that each financial institution

             has an affirmative and continuing obligation to respect the

             privacy of its customers and to protect the security and

             confidentiality   of   those     customers’   nonpublic   personal

             information.


                                            -9-
       Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 10 of 13



      15 U.S.C. § 6801(a) (emphasis added).

45.   Defendant and/or its agents intentionally and/or negligently interfered,

      physically or otherwise, with the solitude, seclusion and or private concerns

      or affairs of this Plaintiff, namely, by repeatedly and unlawfully attempting

      to collect a debt from the wrong person, after being told to stop, and thereby

      invaded Plaintiff’s privacy.

46.   Defendant and its agents intentionally and/or negligently caused emotional

      harm to Plaintiff by engaging in highly offensive conduct in the course of

      collecting this debt, thereby invading and intruding upon Plaintiff’s right to

      privacy.

47.   Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude,

      seclusion, private concerns or affairs.

48.   The conduct of Defendant and its agents, in engaging in the above-described

      illegal collection conduct against Plaintiff, resulted in multiple intrusions

      and invasions of privacy by Defendant which occurred in a way that would

      be highly offensive to a reasonable person in that position.

49.   As a result of such intrusions and invasions of privacy, Plaintiff is entitled to

      actual damages in an amount to be determined at trial from Defendant.




                                         -10-
        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 11 of 13



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendants

as follows:

                                    COUNT I.

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                             15 U.S.C. § 1692 et seq.

       for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1)

         against Defendants and for Plaintiff;

       for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

         §1692k(a)(2)(A) against Defendants and for Plaintiff;

       for an award of costs of litigation and reasonable attorney’s fees pursuant

         to 15 U.S.C. § 1692k(a)(3) against Defendants and for Plaintiff;

                                      COUNT II.

 VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

                          47 U.S.C. Section 227 et seq.

       for an award of statutory damages of $500.00 per call pursuant to 47

         U.S.C. Section 227(b)(3)(B) against Defendants and for Plaintiff;

       for an award of treble damages of $1,500.00 per call pursuant to 47

         U.S.C. Section 227(b)(3) against Defendants and for Plaintiff;




                                        -11-
       Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 12 of 13




      for an injunction prohibiting Defendants from contacting the Plaintiff on

        his cellular phone using an automated dialing system pursuant to the 47

        U.S.C. Section 227(b)(3)(a).

                                   COUNT III.

      INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

      for an award of actual damages from Defendants for the emotional distress

        suffered as a result of the intentional and/or negligent FDCPA violations

        and intentional and/or negligent invasions of privacy in an amount to be

        determined at trial and for Plaintiff; and

      for such other and further relief as may be just and proper.

                                           Respectfully submitted,

Dated: May 6, 2013                         The Blankenship Firm, LLC

                                           By: /s/ Joel R. Blankenship
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                                        -12-
        Case 2:13-cv-00932-JHE Document 1 Filed 05/16/13 Page 13 of 13



         VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF ALABAMA                        )
                                        )
COUNTY OF JEFFERSON                     )

Plaintiff Brian Spellen, having first been duly sworn and upon oath, deposes and says
as follows:

1. I am a Plaintiff in this civil proceeding.
2. I have read the above-entitled civil Complaint prepared by my attorneys and I
   believe that all of the facts contained in it are true, to the best of my knowledge,
   information and belief formed after reasonable inquiry.
3. I believe that this civil Complaint is well grounded in fact and warranted by
   existing law or by a good faith argument for the extension, modification, or
   reversal of existing law.
4. I believe that this civil Complaint is not interposed for any improper purpose,
   such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s),
   or create a needless increase in the cost of litigation to any Defendant(s), named in
   the Complaint.
5. I have filed this civil Complaint in good faith and solely for the purposes set forth
   in it.
6. Each and every exhibit I have provided to my attorneys which has been attached
   to this Complaint is a true and correct copy of the original.
7. Except for clearly indicated redactions made by my attorneys where appropriate, I
   have not altered, changed, modified, or fabricated these exhibits, except that some
   of the attached exhibits may contain some of my own handwritten notations.


                                        _________________________________
                                        Brian Spellen

Subscribed and sworn to before me
this 6th day of May, 2013.


_______________________________
Notary Public




                                            -13-
